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                                           UNITED STATES DISTRICT COURT
                                           EASTERN DISTRICT OF MICHIGAN
                                                SOUTHERN DIVISION

                        TARIIQ JONES,

                              Plaintiff,                             Civil Action No.
                                                                     Hon.
                        v

                        UNIVERSITY OF DETROIT
                        MERCY, a Private University;
                        ROBERT VOWELS, an individual;
                        and BACARI ALEXANDER,
                        an individual,
 RASOR LAW FIRM, PLLC




                              Defendants.

                        Andrew J. Laurila (P78880)
                        James B. Rasor (P43476)
                        RASOR LAW FIRM, PLLC
                        Attorneys for Plaintiff
                        201 East Fourth Street
                        Royal Oak, Michigan 48067
                        (248) 543-9000 / (248) 543-9050 Fax
                        ajl@rasorlawfirm.com
                        ____________________________________________________________

                                            COMPLAINT & JURY DEMAND



                              NOW COMES Plaintiff, TARIIQ JONES, by and through his

                        attorneys, RASOR LAW FIRM, PLLC, and for his Complaint against the

                        above-named Defendants, states as follows:
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                                                         PARTIES

                              1.     At all relevant times, Plaintiff Tariiq Jones (“Jones”), was a

                        resident of the City of Detroit, County of Wayne, State of Michigan.

                              2.     Defendant University of Detroit Mercy (“UDM”) is a private

                        co-educational university located in Wayne County, Michigan and is a

                        recipient of federal funds within the meaning of 20 § U.S.C. 1681(a).

                              3.     Upon information and belief, Defendant Robert Vowels is a

                        citizen of the State of Michigan and was at all times relevant to this action

                        employed as Defendant UDM’s Athletic Director, which is the highest
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                        position within the University’s athletic department.

                              4.     At all material times, Defendant Vowels was acting in his

                        individual capacity and within the course and scope of his employment as

                        Athletic Director and he is an “agent” pursuant Elliott-Larsen Civil Rights

                        Act, M.C.L. § 37.2401.

                              5.     At all material times during this litigation, Defendant Bacari

                        Alexander was the head men’s basketball coach for UDM.

                              6.     This lawsuit arises out of events occurring within the City of

                        Detroit, County of Wayne, and State of Michigan.

                              7.     Defendants are jointly and severally liable to Plaintiff for the

                        claims asserted therein.
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                                               JURISDICTION AND VENUE

                                 8.    This cause of action involves violations of Plaintiff’s civil

                        rights, as secured by the United States and Michigan Constitutions, and is

                        brought pursuant to 20 U.S.C. § 1681 and pendant claims arising under the

                        Elliott-Larsen Civil Rights Act.

                                 9.    This Court has jurisdiction over the claims brought pursuant to

                        20 U.S.C. § 1681 based upon the laws of the United States pursuant to 28

                        U.S.C. §§ 1331, 1343. This Court has supplemental jurisdiction over the

                        claims arising under state law pursuant to 28 U.S.C. § 1367.
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                                 10.   The amount in controversy exceeds $75,000.00, exclusive of

                        costs, interest, and attorney fees, and jurisdiction is otherwise proper in this

                        Court.

                                 11.   Venue is appropriate in this Court pursuant to 28 U.S.C. §

                        1391(b), as this cause of action arises out of occurrences that took place

                        within this District, in the County of Wayne, and Defendant UDM is a

                        University located within this district.

                                          COMMON FACTUAL ALLEGATIONS

                                 12.   Plaintiff reasserts and re-alleges each and every allegation

                        contained in paragraphs 1 through 11, as if fully set forth herein.
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                              13.       Prior to the events giving rise to this litigation, Plaintiff Jones

                        had played college basketball at the Junior College level, which provided

                        him necessary experience to go on and play D-I college basketball.

                              14.       Due to his ability and success in the lower tiers of college

                        basketball, Defendant UDM, specifically Defendant Alexander, recruited

                        Plaintiff to enroll and play basketball at Defendant UDM, an NCAA D-I

                        program in the Horizon League.

                              15.       During his recruitment, various employees involved in

                        Defendant UDM’s basketball program, including Defendant Alexander,
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                        made promises to Plaintiff about the success playing for UDM would

                        provide him, his potential future playing basketball professionally, and the

                        great education he would receive as a UDM student athlete.

                              16.       Given these promises and his desire to further his basketball

                        career and receive a good education, Plaintiff signed a letter of intent to

                        attend Defendant UDM and play basketball there.

                              17.       Plaintiff received a full athletic scholarship from Defendant

                        UDM as a condition of playing basketball and began attending classes in the

                        Fall of 2017.

                              18.       The team opened the season with an exhibition against Wayne

                        State University, where Plaintiff scored 13 points and added five rebounds.
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                              19.     At this time, Plaintiff’s future looked bright as he was one of

                        Defendant UDM’s best players and would have various opportunities to

                        showcase his ability on a national level as the season progressed.

                              20.     In early November the team had been practicing in anticipation

                        of a contest against Virginia Tech.

                              21.     At the end of the practice session on November 6, 2017, the

                        team, including Plaintiff, Defendant Alexander and various other player

                        huddled up.

                              22.     In response to a simple statement Plaintiff made to Defendant
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                        Alexander during the team huddle, Defendant Alexander turned to Plaintiff,

                        aggressively grabbed his genitals through his pants so the outline could be

                        seen while thrusting his hips in Plaintiff’s direction, and yelled at Plaintiff,

                        “suck my dick!”

                              23.     Defendant Alexander stood only approximately three to five

                        feet away from Plaintiff as he yelled and thrusted his hips—the outline of his

                        genitals clearly visible—towards Plaintiff.

                              24.     Plaintiff was shocked and embarrassed during this sexually-

                        charged encounter, particularly as it occurred in front of all his teammates.

                              25.     Plaintiff filed a police report with the UDM Police regarding

                        this incident; upon information and belief, this complaint was disregarded by
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                        Defendant’s Public Safety department despite clearly involving sexual-

                        related misconduct between a coach and a student-athlete.

                              26.   In the following days, various teammates of Plaintiff brought

                        up the incident in a joking and mocking manner which only furthered

                        Plaintiff’s embarrassment and shame.

                              27.   On November 13, 2017, Plaintiff had a meeting with Defendant

                        Alexander and Defendant Vowels regarding this incident; Defendant Vowels

                        orchestrated the meeting.

                              28.   Defendant Alexander was thereafter suspended on or around
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                        November 14, 2017.

                              29.   At no point in the immediate aftermath did any agent or

                        representative explain to Plaintiff his rights under Title IX or Defendant

                        UDM’s related policies.

                              30. Defendant Alexander returned to his duties as head coach on or

                        around December 6, 2017, which necessitated Plaintiff regularly being

                        forced to interact and be around Defendant Alexander.

                              31.   Around the time Defendant Alexander returned to his duties,

                        Defendant Vowels stated to the press: “The university is happy to have

                        coach Alexander back with us and leading this team…We are thankful that
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                        this internal personnel issue is now resolved and we look forward to coach

                        Alexander’s return and a successful season.”

                               32.     But the issue was not resolved, and because of that Plaintiff

                        struggled academically, including critical examinations to conclude the Fall

                        semester.

                               33.     As a result of these academic struggles, Plaintiff was deemed

                        ineligible to partake in athletic activities, including playing basketball, in

                        January of 2018, which was the bulk of the season.

                               34.     Plaintiff attempted to utilize academic resources through the
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                        basketball team, and he and an academic advisor came up with a plan to

                        improve Plaintiff’s grades during the second semester and restore Plaintiff’s

                        eligibility.

                               35.     On or around February 27, 2018, Plaintiff emailed Defendant’s

                        President, Antoine Garibaldi, explaining how this incident had significantly

                        harmed him, how the continued presence of Defendant Alexander as his

                        coach caused him further stress, even necessitating therapeutic treatment,

                        and his anger with Defendant’s lack of effort to address, resolve, and remedy

                        the situation.

                               36.     In light of Defendant’s failure to remedy the circumstances

                        coupled with Plaintiff’s ongoing, related struggles, he filed a complaint of
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                        discrimination/harassment with the Michigan Department of Civil Rights on

                        or around March 15, 2018.

                              37.    Defendant UDM received notice of Plaintiff’s charge on or

                        around March 27, 2018.

                              38.    On or around March 26, 2018, Defendant UDM terminated

                        Defendant Alexander’s agreement with UDM as its head coach, however

                        this had nothing to do with the incident with Plaintiff but was solely related

                        to the team’s poor performance under Alexander.

                              39.    Following Alexander’s termination, Defendant Vowels stated:
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                        “Bacari helped inspire a strong work ethic among players and staff during

                        his time and always challenged players to be their best both on and off the

                        court….We thank him for his efforts and wish him the best.”

                              40.    Defendant    UDM      did    not   adequately   assist   Plaintiff

                        academically thereafter, even despite a plan that had been in put in place to

                        do so, and given Plaintiff’s significantly damaged emotional state, his

                        academic performance continued to suffer.

                              41.    Plaintiff was notified on or around May 2, 2018, that based on

                        his second semester grades he would be on academic probation again the

                        following fall semester and ineligible to play basketball.
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                              42.    Given Defendant UDM’s egregious conduct and given the

                        significant and continuing emotional trauma Plaintiff suffered, he was

                        effectively forced to transfer.

                              43.    But because of Plaintiff’s academic record at UDM and only

                        short on-the-court success given the events at issue, he was unable to quickly

                        find another University to play basketball at.

                              44.    By the time Plaintiff could have found a new school to play

                        basketball at, his four-year eligibility to compete at the collegiate level

                        pursuant to NCAA Rules had run.
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                              45.    That is, Plaintiff never played again at the collegiate level, and

                        this inability essentially eliminated his ability to continue his basketball

                        career professionally, whether in the United States or internationally.

                                                     COUNT I
                                           VIOLATION OF 20 U.S.C. § 1681(a)
                                              AS TO DEFENDANT UDM

                              46.    Plaintiff reasserts and re-alleges each and every allegation

                        contained in paragraphs 1 through 45, as if fully set forth herein.

                              47.    Title IX provides that “No person in the United States shall on

                        the basis of sex, be excluded from participation in, be denied the benefits of,

                        or be subjected to discrimination under any education program or activity

                        receiving Federal financial assistance.” 20 U.S.C. § 1681(a).
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                               48.    The Department of Education requires schools that fall under

                         Title IX’s broad scope to “adopt and publish grievance procedures providing

                         for the prompt and equitable resolution of student [...] complaints alleging

                         any action that would be prohibited by” Title IX regulations, including

                         sexual assault. 34 C.F.R § 106.8(b); 28 C.F.R. § 54.135(b).

                               49.    Plaintiff was a student at Defendant UDM and a “person” under

                         Title IX.

                               50.    Defendant UDM receives federal financial assistance for its

                         education program and is therefore subject to the provisions of Title IX.
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                               51.    Defendant UDM is required under Title IX to investigate

                         allegations of sexual assault, sexual abuse, sexual harassment and/or

                         sexually-related misconduct.

                               52.    Title IX covers the aforementioned conduct in relation to

                         students, employees, and third parties.

                               53.    Defendant Alexander’s unwanted, offensive sexual gesture(s)

                         and statement towards Plaintiff was in violation of Title IX.

                               54.    The same day the incident occurred Plaintiff made a report to

                         Defendant’s Public Safety Department, yet it was disregarded and ignored.
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                               55. A week after this offensive, public, sexually-charged incident

                         between Plaintiff and Defendant Alexander, Defendant’s Athletic Director,

                         Robert Vowels, contacted Plaintiff to set up a meeting regarding the incident.

                               56.    Defendant UDM and its Athletic Department had actual and/or

                         constructive notice of Defendant Alexander’s sexual misconduct and

                         Plaintiff’s desire to alleviate and resolve this sexually-charged environment.

                               57.    Plaintiff reported how this sexually-charged conduct affected

                         him and his ability to play basketball in the same, unresolved environment.

                               58.    Plaintiff sought assurances he would never again be forced to
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                         suffer embarrassment and shame at the hands of Alexander’s sexually-

                         charged misconduct; an individual Plaintiff looked up to and maintained a

                         position of power over his basketball career.

                               59.    Despite the severity of Defendant Alexander’s conduct, he

                         returned to coaching just three weeks later.

                               60.    No one from Defendant UDM ever appraised Plaintiff how this

                         unfortunate circumstance related to his Title IX rights.

                               61.    In fact, because Plaintiff was a male basketball player,

                         Defendant considered this sexually-charged, highly offensive and vulgar

                         conduct simply as “locker room talk,” thus not requiring it to conduct an

                         investigation as it normally would.
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                               62.    Defendant UDM failed to investigate and take corrective action

                         as required by Title IX.

                               63.    Despite Plaintiff’s repeated efforts to have this situation

                         remedied beyond Defendant Alexander’s slap on the wrist, Defendant UDM

                         later attributed the lack of investigation to Plaintiff’s alleged desire to not

                         proceed with the investigation.

                               64.    Given the above, Defendant UDM, through its agents and

                         employees involved in enforcing and complying with Title IX, acted with

                         deliberate indifference to known acts of sexual misconduct, specifically to
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                         Defendant Alexander’s request to have Plaintiff “suck his dick” while

                         grabbing his genitals so the outline could be seen through his clothing.

                               65.    Defendant UDM failed to adequately investigate this claim and

                         this failure arose from Plaintiff’s status as a male athlete; a stereotype

                         evidenced by Defendant claiming this was simply “locker room talk.”

                               66.    Because Defendant regarded Plaintiff’s valid and serious

                         complaint as “locker room talk,” it did not take any corrective action,

                         furthering Defendant’s deliberate indifference by the lack of a response.

                               67.    Defendant’s response, or lack thereof, to Plaintiff’s multiple

                         complaints was unreasonable because of deep-rooted stereotypes in male
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                         locker rooms and had the effect of contributing and worsening Plaintiff’s

                         trauma.

                               68.    Defendant’s failure to promptly and appropriately investigate,

                         remedy, and respond to Defendant Alexander’s sexual misconduct after

                         receiving notice of the same subjected Plaintiff to continued and significant

                         distress, forced Plaintiff to continue to be around Alexander and negatively

                         affected Plaintiff to the extent his academics greatly suffered.

                               69.    That as a direct and proximate result of Defendant’s wrongful

                         acts and omissions, Plaintiff has sustained loss of earnings, earning capacity
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                         and has suffered mental anguish, physical and emotional distress,

                         humiliation, mortification and embarrassment, as well as loss of professional

                         reputation and loss of scholarship benefits.

                               70.    Pursuant to 42 U.S.C. § 1988 and 20 U.S.C. § 1681, Defendant

                         is liable to Plaintiff for all damages allowed under federal law. To the extent

                         that the damages allowable and/or recoverable under one or both the statutes

                         are deemed insufficient to fully compensate Plaintiff and/or to punish or

                         deter the Defendant, this Court must order additional damages to be allowed

                         so as to satisfy any and all such inadequacies.

                               WHEREFORE, Plaintiff respectfully requests that this Honorable

                         Court enter judgment in his favor and against Defendants, jointly and
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                         severally, in an amount in excess of $75,000.00, plus costs, interest, and

                         attorney fees, as well as actual, compensatory punitive and/or exemplary

                         damages so wrongfully incurred, as the Court deems just.

                                             COUNT II – DISCRIMINATION
                                        VIOLATION OF THE ELLIOTT-LARSEN
                                          CIVIL RIGHTS ACT, M.C.L. § 37.2401,
                                        AS TO DEFENDANTS UDM AND VOWELS

                                71.    Plaintiff reasserts and re-alleges each and every allegation

                         contained in paragraphs 1 through 70, as if fully set forth herein.

                                72.    The Elliott-Larsen Civil Rights Act, M.C.L. § 37.2402 prohibits

                         an educational institution from discriminating “against an individual in the
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                         full utilization of or benefit from the institution, or the services, activities, or

                         programs provided by the institution because of religion, race, color,

                         national origin, or sex.”

                                73.    Defendant UDM is an “Educational institution” and Defendant

                         Vowels is an “agent” pursuant to the Elliott-Larsen Civil Rights Act.

                                74.    Because of Plaintiff’s gender he was denied the full and equal

                         right to an adequate investigation by Defendant UDM’s public safety

                         department regarding his complaint, the right to participate in Defendant

                         UDMs alleged Title IX “policies and procedures,” and the right to his

                         scholarship benefits and to continue to play basketball.
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                               75.    Defendant Vowels, as an agent and in his official capacity with

                         Defendant UDM, discriminated against Plaintiff by refusing to legitimately

                         treat this incident as serious and/or as prospective sexual misconduct giving

                         rise to Defendant’s Title IX’s policies because Plaintiff was a male.

                               76.    Defendant discriminatorily termed Defendant Alexander’s

                         abhorrent, sexually-charged misconduct as “locker room talk,” which played

                         a significant factor in UDM’s treatment of Plaintiff’s complaint and was

                         based on Plaintiff’s gender.

                               77.    Defendant’s Title IX “policies and procedures” utilize a
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                         discriminatorily double standard in that had Plaintiff been a female athlete

                         and been told by a male coach to “suck his dick” while grabbing his genitals,

                         Defendant would have taken significantly different actions.

                               78.    The discrimination that Plaintiff was subjected to while

                         attempting to report and remedy Defendant Alexander’s egregious sexual

                         misconduct was so substantially disparate and less favorable than the

                         treatment of non-male students reporting sexual misconduct that it raises an

                         inference of discrimination.

                               79.    As a direct and proximate result of Defendants’ unlawful

                         actions against Plaintiff as described herein, Plaintiff has suffered injuries

                         and damages, including, but not limited to, potential loss of earnings and
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                         earning capacity, loss of career opportunities, loss of reputation and esteem

                         in the community, mental and emotional distress, and loss of the ordinary

                         pleasures of life.

                               80.    Pursuant to the Elliott-Larsen Civil Rights Act, M.C.L. §

                         37.2101 et seq., Defendants are liable to Plaintiff for all damages allowed

                         under state law. To the extent that the damages allowable and/or recoverable

                         are deemed insufficient to fully compensate Plaintiff and/or to punish or

                         deter the Defendants, this Court must order additional damages to be

                         allowed so as to satisfy any and all such inadequacies.
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                               WHEREFORE, Plaintiff respectfully requests that this Honorable

                         Court enter judgment in his favor and against Defendants, jointly and

                         severally, in an amount in excess of $25,000.00, plus costs, interest, and

                         reasonable attorney fees so wrongfully incurred, and grant further such relief

                         as this Court deems fair and just under the circumstances.

                                                   COUNT III – ASSAULT
                                              AS TO DEFENDANT ALEXANDER

                               81.    Plaintiff reasserts and re-alleges each and every allegation

                         contained in paragraphs 1 through 80, as if fully set forth herein.

                               82.    During the November 6, 2017 events, Defendant Alexander

                         aggressively and threateningly stated “Suck my dick” to Plaintiff while
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                         standing feet apart and physically touching his genitalia through his clothing

                         so Plaintiff could see the outline and thrusting his body towards Plaintiff.

                               83.    These actions were done with the purpose of intentionally

                         and/or unlawfully threatening Plaintiff with bodily injury, or more

                         specifically that Defendant Alexander was forcibly going to make Plaintiff

                         suck his dick against Plaintiff’s will.

                               84.    These threats, given Defendant’s close proximity to Plaintiff’s

                         person and encroaching behavior, among other situational circumstances,

                         gave Plaintiff a well-founded fear of imminent peril and apprehension of an
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                         immediate harmful contact.

                               85.     Considering the forceful nature of Defendant’s conduct, the

                         visual of Defendant actually touching his genitals he threatened Plaintiff

                         with, and the position of power he held over Plaintiff as the head basketball

                         coach, Defendant had the apparent ability to carry out a physical attack

                         against Plaintiff.

                               86.    As a direct and proximate result of Defendant Alexander’s

                         conduct, Plaintiff has sustained and continues to sustain, injuries and

                         damages.

                               WHEREFORE, Plaintiff requests that this court enter judgment

                         against Defendant Alexander in whatever amount he may be found to be
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                         entitled, together with interest, costs, reasonable attorney fees, and such

                         other relief as the court deems just under the circumstances.

                                     COUNT IV – INTENTIONAL INFLICTION OF
                                     EMOTIONAL DISTRESS AS TO DEFENDANT
                                           ALEXANDER AND VOWELS

                               87.    Plaintiff reasserts and re-alleges each and every allegation

                         contained in paragraphs 1 through 86, as if fully set forth herein.

                               88.    Defendant Alexander’s conduct towards Plaintiff, described

                         above, was extreme and outrageous and went beyond all possible bounds of

                         decency.
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                               89.    Defendant Alexander, knowing his position of power/authority

                         over Plaintiff and knowing his influence over Plaintiff, a young, aspiring

                         basketball player, acted extreme and outrageous in publicly telling Plaintiff

                         to “suck his dick.”

                               90.    Defendant Alexander intended to cause Plaintiff severe

                         emotional distress or acted with reckless disregard as to causing Plaintiff’s

                         severe emotional trauma.

                               91.    Defendant Vowels’ conduct towards Plaintiff, described above,

                         was extreme and outrageous and went beyond all possible bounds of

                         decency.
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                                92.    Defendant Vowels made Plaintiff and Defendant Alexander

                         meet just days after Defendant Alexander’s egregious conduct.

                                93.    Defendant Vowels, in light of the clear distress Plaintiff

                         suffered and the egregiousness of the conduct, failed to adequately

                         investigate the allegations and follow guidelines set forth in Title IX for

                         situations like this.

                                94.    Despite knowledge of how these events traumatized Plaintiff,

                         Defendant Vowels stated on December 6 regarding Defendant Alexander’s

                         outrageous conduct: “We are thankful that this internal personnel issue is
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                         now resolved and we look forward to coach Alexander’s return and a

                         successful season.”

                                95.    Defendant Vowels made this public statement, furthering

                         Plaintiff’s emotional trauma, knowing the matter was not “resolved.”

                                96.    Defendant Vowels intended to cause Plaintiff severe emotional

                         distress or acted with reckless disregard as to causing Plaintiff’s severe

                         emotional trauma.

                                97.    The above conduct described herein did in fact cause Plaintiff

                         to suffer severe emotional distress, requiring him to begin seeking

                         therapeutic treatment and continue to do so.
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                               98.    Plaintiff suffered from severe psychological harm resulting

                         from the above-referenced conduct.

                               99.    As a result of the conduct described above, Plaintiff suffered

                         and continues to suffer damages.

                               WHEREFORE, Plaintiff requests that this court enter judgment

                         against Defendant Clark in whatever amount he may be found to be entitled,

                         together with interest, costs, reasonable attorney fees, and such other relief

                         as the court deems just under the circumstances.

                                                                RESPECTFULLY SUBMITTED:
  RASOR LAW FIRM, PLLC




                                                                THE RASOR LAW FIRM

                                                                /s/ Andrew Laurila
                                                                Andrew Laurila (P78880)
                                                                Attorney for Plaintiff
                                                                201 E. Fourth Street
                                                                Royal Oak, Michigan 48067-3846
                                                                (248) 544-9300/(248) 543-9050 Fax
                                                                ajl@rasorlawfirm.com
                         Dated: July 8, 2019



                                               DEMAND FOR JURY TRIAL

                               NOW COMES Plaintiff, Tariiq Jones, by and through his attorneys,

                         RASOR LAW FIRM, PLLC, and hereby demands a trial by jury in the

                         above-captioned cause of action.
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                                               RESPECTFULLY SUBMITTED:

                                               THE RASOR LAW FIRM

                                               /s/ Andrew Laurila
                                               Andrew Laurila (P78880)
                                               Attorney for Plaintiff
                                               201 E. Fourth Street
                                               Royal Oak, Michigan 48067-3846
                                               (248) 544-9300/(248) 543-9050 Fax
                                               ajl@rasorlawfirm.com
                         Dated: July 8, 2019
  RASOR LAW FIRM, PLLC
